Order Form (01/2005)   Case: 1:09-cv-00089 Document #: 24 Filed: 05/26/10 Page 1 of 1 PageID #:35

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge            John F. Grady              Sitting Judge if Other
        or Magistrate Judge                                        than Assigned Judge

   CASE NUMBER                           09 C 89                              DATE                      5/26/2010
            CASE                            G.M. Signs Inc. Vs. ActiveCore Technologies, Inc., et al.
            TITLE

  DOCKET ENTRY TEXT

  Status hearing held and continued to 7/28/2010 at 11:00 a.m. The plaintiff is given leave to proceed with
  discovery as to defendant Andrew Wickett. All other remaining defendants are hereby voluntarily dismissed
  by the plaintiff.




                                                                                                                 Docketing to mail notices.

  00:10




                                                                                           Courtroom Deputy                  JD
                                                                                                     Initials:




09C89 G.M. Signs Inc. Vs. ActiveCore Technologies, Inc., et al.                                                                   Page 1 of 1
